


  
  Court of Criminal Appeals  Opinions | Tennessee Administrative Office of the Courts
  
  
  
    

  



  
  
  
  
      









    
      
        
          Tennessee Administrative Office of the Courts        

          


  
  Court of Criminal AppealsAbout
News
Judges
Opinions
Oral Arguments
Rules

Supreme Court
Court of Appeals
Appellate Court Clerk's Office
Circuit, Criminal, Chancery &amp; Business Courts
General Sessions Courts
Juvenile &amp; Family Courts
Municipal Courts
Court Clerks
Court Rules


  

  

  SEARCH TNCOURTS.GOV:

  

  
 Search this site: 
 








  

  


  Connect with us on Twitter
Help Center
Opinions &amp; News Feeds
View Photos on Flickr
Podcast
          Appellate E-Filing

  

  


  ADA Policy
Employment
Board of Judicial Conduct
Records Policy
Privacy Policy
Site Map
Contact Us

  

        
        
          Administrative Office of the Courts
          511 Union Street, Suite 600 
          Nashville, TN 37219
          © 2019 Tennessee Courts System
        
      
    

  
  

    
                                

      
          


  CourtsSupreme CourtCourt of AppealsCourt of Criminal AppealsAppellate Court Clerk's OfficeCircuit, Criminal, Chancery &amp; Business CourtsGeneral Sessions CourtsJuvenile &amp; Family CourtsMunicipal CourtsCourt ClerksCourt RulesProgramsAccess to JusticeCourt ImprovementCourt InterpretersCourt ReportersGAVELS ProgramIndigent DefenseMediationParenting PlanRFPs/GrantsSCALES ProjectSelf Help CenterAdministrationContinuing Legal EducationJudicial ResourcesHuman ResourcesTraining CoursesLinksForms &amp; PublicationsCourt FormsGuides &amp; ResourcesOther FormsPublicationsReportsStatistical ReportsCriminal Justice Handbook Order FormBoards &amp; CommissionsBoard of Judicial ConductBoards and CommissionsAdvisory Task Force on Composition of Judicial DistrictsIndigent Representation Task ForceCalendar
  

      
	  
	    
	  

    

    You are here: Home&nbsp;&nbsp;&gt;&nbsp;&nbsp;Courts&nbsp;&nbsp;&gt;&nbsp;&nbsp;Court of Criminal Appeals&nbsp;&nbsp;&gt;&nbsp;&nbsp;print    


    
  
    
  
  Court of Criminal Appeals  Opinions	

	
    
          
        

  
          
                  
            Court          
                        
          
 

        
      
          
                  
            County          
                        
          
 

        
      
          
                  
            Authoring Judge          
                        
          
 

        
      
          
                  
            Originating Judge          
                        
          
 

        
      
          
                  
            Date Filter          
                        
          
 
 
  Format: 10/25/2019




 And: 
 
 
  Format: 10/25/2019



        
      
          
                  
            Case Number          
                        
          
 

        
      
          
                  
            Case Name          
                        
          
 

        
      
          
                  
            keyword search          
                        
          
 

        
      
              
        
 Sort by: 
 

      
      
        
 Order: 
 

      
                
      
    
          
        
      
      



      
    
    
          
        
    
    
              
                  
              
                  
              
                  
              
                  
              
                  
              
                  
          
  
  
                  
                      
              State of Tennessee v. Randall Ray WardW2018-01957-CCA-R3-CDAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge Donald H. AllenA Madison County jury convicted the Defendant, Randall Ray Ward, of possession of cocaine with the intent to sell, possession of cocaine with the intent to deliver, and possession of illegal drug paraphernalia. The trial court merged the cocaine convictions and ordered that the Defendant serve ten years in confinement as a Range II, multiple offender. The trial court imposed a consecutive sentence of eleven months and twenty-nine days for the paraphernalia conviction. On appeal, the Defendant asserts that: (1) the evidence is insufficient to support his convictions; (2) the trial court erred when it admitted the Defendant’s statement to police; (3) the trial court erred when it instructed the jury regarding confessions; and (4) the trial court erred when it sentenced the Defendant. After a thorough review of the record and applicable law, we affirm the trial court’s judgments.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              10/25/19            
                      
                          
                      
                          
                  
                        
                      
              Malik Hardin v. State of TennesseeE2018-00676-CCA-R3-PCAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Bob R. McGeeThe Petitioner, Malik Hardin, filed a petition for post-conviction relief, alleging that his trial counsel was ineffective and that his guilty pleas were not knowingly and voluntarily entered.&nbsp; The post-conviction court denied the petition, and the Petitioner appeals.&nbsp; Upon review, we affirm the judgment of the post-conviction court.&nbsp;            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              10/25/19            
                      
                          
                      
                          
                  
                        
                      
              Malik Hardin v. State of TennesseeE2018-00676-CCA-R3-PCAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Bob R. McGeeThe Petitioner, Malik Hardin, filed a petition for post-conviction relief, alleging that his trial counsel was ineffective and that his guilty pleas were not knowingly and voluntarily entered.&nbsp; The post-conviction court denied the petition, and the Petitioner appeals.&nbsp; Upon review, we affirm the judgment of the post-conviction court.            
                      
              Knox County            
                      
              Court of Criminal Appeals             
                      
              10/25/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Prentice Farrell AndersonW2018-01475-CCA-R3-CDAuthoring Judge: Judge Thomas T. WoodallTrial Court Judge: Judge Roy B. Morgan, Jr.Defendant, Prentice Farrell Anderson, was indicted by the Madison County Grand Jury for one count each of possession of more than 0.5 ounce of marijuana with intent to sell; possession of more than 0.5 ounce of marijuana with intent to deliver; possession of 0.5 gram or more of cocaine with intent to sell; possession of 0.5 gram or more of cocaine with intent to deliver; unlawful possession of hydrocodone; possession with intent to use drug paraphernalia; driving with a canceled, suspended, or revoked license; and driving in violation of the window tint law. A jury found Defendant guilty as charged on all eight counts. The trial court merged Defendant’s convictions for possession with intent to sell and possession with intent to deliver marijuana, as well as his convictions for possession with intent to sell and possession with intent to deliver cocaine, and Defendant received a total effective sentence of ten years’ incarceration. In this appeal as of right, Defendant contends that the evidence was insufficient to support his convictions because the State failed to prove possession beyond a reasonable doubt. Having reviewed the record and the briefs of the parties, we affirm the judgments of the trial court.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              10/24/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Todd Samuel AdcockM2018-01623-CCA-R3-CDAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge David D. WolfeThe Defendant, Todd Samuel Adcock, pled guilty to one count of sale of heroin, a class B felony. After entering his guilty plea, the trial court found the Defendant to be a Range III, persistent offender and sentenced him to twenty-five years’ incarceration. The trial court determined that the twenty-five-year sentence was to run consecutively to the Defendant’s previous eight-year sentence from Davidson County. On appeal, the Defendant contends that the trial court erred (1) by not merging his previous convictions and, thereby, sentencing the Defendant as a Range III, persistent offender and (2) by ordering the Defendant’s sentence to run consecutively to his Davidson County sentence. Following our review, we conclude that the trial court did not err and affirm the sentencing decision.            
                      
              Cheatham County            
                      
              Court of Criminal Appeals             
                      
              10/24/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Dusan SimicM2018-01995-CCA-R9-CDAuthoring Judge: Judge John Everett WilliamsTrial Court Judge: Judge Monte WatkinsThe Defendant, Dusan Simic, was indicted for various offenses committed in the course of a series of robberies in July and August of 2017. The trial court granted the Defendant’s motion to suppress out-of-court identifications made by four victims on the basis that the photographic lineups were unduly suggestive. The trial court and subsequently this court granted interlocutory review. The State asserts that interlocutory review is proper and that the trial court erred in determining that the lineups were suggestive; the Defendant disagrees. We conclude that interlocutory appeal was improvidently granted. Accordingly, we dismiss the appeal and remand for further proceedings.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              10/24/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Demetrius J. JohnsonW2018-02056-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr.Trial Court Judge: Judge Donald H. AllenIn November 2017, the Madison County Grand Jury indicted Defendant, Demetrius J. Johnson, for various drug and firearm offenses. Defendant filed a motion to suppress, which was denied by the trial court. Defendant then pled guilty to the offenses, attempting to reserve the following certified question of law for appeal: “Did the affidavit in support of the search warrant establish probable cause within the four corners of said affidavit?” After review, we conclude that this court does not have jurisdiction to address the certified question because the certification did not meet the requirements of State v. Preston, 759 S.W.2d 647 (Tenn. 1988). We, therefore, dismiss the appeal.            
                      
              Madison County            
                      
              Court of Criminal Appeals             
                      
              10/23/19            
                      
                          
                      
                          
                  
                        
                      
              Courtney Means v. State of TennesseeW2018-01902-CCA-R3-HCAuthoring Judge: Judge Robert W. WedemeyerTrial Court Judge: Judge J. Robert Carter, Jr.A Shelby County jury convicted the Petitioner, Courtney Means, of three counts of aggravated robbery involving multiple victims, and the trial court sentenced him to an effective twenty-four-year sentence. This court affirmed his convictions and sentence. State v. Courtney Means, W2005-00682-CCA-R3-CD, 2006 WL 709206, at *1 (Tenn. Crim. App., at Jackson, Mar. 21, 2006), perm. app. denied (Tenn. Sept. 5, 2006). The Petitioner unsuccessfully filed a petition for post-conviction relief and a Tennessee Rule of Criminal Procedure 36.1 motion for relief from an illegal sentence. The Petitioner then filed a petition for a writ of habeas corpus alleging that his judgments are void because the court lacked authority to sentence him. After review, we affirm the habeas corpus court’s judgment.            
                      
              Shelby County            
                      
              Court of Criminal Appeals             
                      
              10/23/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. William Blake KobeckW2018-02234-CCA-R3-CDAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge J. Weber McCrawThe Appellant, William Blake Kobeck, pled guilty in the Fayette County Circuit Court to vehicular homicide by recklessness. Pursuant to the plea agreement, he received a four-year sentence to be served on supervised probation with the trial court to determine his request for judicial diversion. After a hearing, the trial court denied judicial diversion. On appeal, the Appellant contends that the trial court erred by denying his request for judicial diversion. Based upon the oral arguments, the record, and the parties’ briefs, we affirm the judgment of the trial court.            
                      
              Fayette County            
                      
              Court of Criminal Appeals             
                      
              10/23/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Talmadge D. MurphyE2018-00363-CCA-R3-CDAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge James F. Goodwin, Jr.The Appellant, Talmadge D. Murphy, appeals the trial court’s revocation of his probationary sentence, specifically arguing that the trial court abused its discretion by considering evidence not elicited by either party during the hearing.&nbsp; Upon review, we reverse the judgment of the trial court and remand for a new revocation hearing.&nbsp;            
                      
              Sullivan County            
                      
              Court of Criminal Appeals             
                      
              10/23/19            
                      
                          
                      
                          
                  
                        
                      
              Rodney Raymond Brewer, Jr. v. State of TennesseeM2018-01493-CCA-R3-PCAuthoring Judge: Judge D. Kelly Thomas, Jr.Trial Court Judge: Judge Forest A. Durard, Jr.The Petitioner, Rodney Raymond Brewer, Jr., appeals from the denial of his petition for post-conviction relief. The Petitioner pled guilty to Class B felony possession of a schedule II controlled substance with the intent to sell in exchange for an agreed-upon Range I sentence of eleven years. On appeal, the Petitioner alleges that he received ineffective assistance due to trial counsel’s (1) failure to effectively investigate and argue the motion to suppress; (2) failure to investigate the Petitioner’s range classification; (3) failure to properly advise him regarding the law of constructive possession; (4) failure to argue for enforcement of the original nine-year plea offer; and (5) failure to file an appeal. After a thorough review of the record, we affirm the judgment of the post-conviction court.            
                      
              Bedford County            
                      
              Court of Criminal Appeals             
                      
              10/23/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Matt D. PolkM2018-01251-CCA-R3-CDAuthoring Judge: Judge John Everett WilliamsTrial Court Judge: Judge David D. WolfeThe Defendant, Matt D. Polk, was convicted of one count of the sale of 0.5 grams or more of cocaine and one count of the sale less of than 0.5 grams of cocaine. The Defendant received an effective sentence of twenty-five years. On appeal, the Defendant argues that a video recording was not properly authenticated and that the trial court erred in allowing an expert who had not been disclosed to the defense prior to the day of trial to testify. We conclude that the recording was properly authenticated and that the trial court did not abuse its discretion in permitting the testimony, and we affirm the judgments of the trial court.            
                      
              Dickson County            
                      
              Court of Criminal Appeals             
                      
              10/23/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Henry Nicholas BrownE2018-02135-CCA-R3-CDAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge Jeffery Hill WicksThe Defendant-Appellant, Henry Nicholas Brown, entered a guilty plea in the Roane County Criminal Court to aggravated assault (count one), evading arrest (count two), and reckless endangerment (count three), with the trial court to determine the length and manner of service of his sentence.&nbsp; Following a sentencing hearing, the trial court sentenced the Defendant to six, four, and two years, respectively.&nbsp; The trial court ordered these sentences to be served consecutively, for an effective sentence of twelve years in the Tennessee Department of Correction. In this appeal as of right, the Defendant contends that the trial court erred in imposing consecutive sentences. Upon our review, we affirm the judgment of the trial court.            
                      
              Roane County            
                      
              Court of Criminal Appeals             
                      
              10/22/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Elizabeth Lynn SchmitzM2018-01270-CCA-R3-CDAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge Larry J. WallaceA Humphreys County jury convicted the Defendant-Appellant, Elizabeth Lynn Schmitz, of failure to have a license to operate a pawnshop in violation of Tennessee Code Annotated section 45-6-205, a Class A misdemeanor, for which she received a probationary sentence of eleven-months and twenty-nine days. In this appeal as of right, the Defendant argues that the trial court erred by not providing her a court reporter during trial and that the evidence was insufficient to sustain her conviction. Upon review, we affirm the judgment of the trial court.            
                      
              Humphreys County            
                      
              Court of Criminal Appeals             
                      
              10/22/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Nicholas Tyler BeckhamM2018-02027-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway, Jr. Trial Court Judge: Judge Larry J. WallaceThe Cheatham County Grand Jury indicted Nicholas Tyler Beckham, Defendant, on twenty-three counts of aggravated sexual exploitation of a minor. Pursuant to a plea agreement, Defendant pled guilty to counts one through five, with an agreed sentence of five years on each count, counts one through four to be served consecutively, with count five to run concurrently to count four, for an effective sentence of twenty years at thirty percent, with the manner of service to be determined by the court. The remainder of the counts were dismissed. Following a sentencing hearing, the trial court ordered Defendant to serve his sentence in the Tennessee Department of Correction. On appeal, Defendant claims the trial court abused its discretion when it denied alternative sentencing for Defendant. After a thorough review of the record and applicable case law, we affirm the judgments of the trial court.            
                      
              Cheatham County            
                      
              Court of Criminal Appeals             
                      
              10/22/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Nathaniel David Labrecque - Concurring/DissentingM2018-01587-CCA-R3-CDAuthoring Judge: Judge Norma McGee OgleTrial Court Judge: Judge Amanda McClendonI agree with the majority’s conclusion that the trial court’s restitution order must be reversed. I write separately, however, to address the State’s indicting the Defendant for, and the Defendant’s ultimately pleading guilty to, two counts of failure to yield the right of way resulting in serious bodily injury. I conclude that under plain error, the Defendant’s dual convictions violate principles of double jeopardy.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              10/22/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Nathaniel David LabrecqueM2018-01587-CCA-R3-CDAuthoring Judge: Judge Robert H. Montgomery, Jr.Trial Court Judge: Judge Amanda McClendonThe Defendant, Nathaniel David Labrecque, pleaded guilty to two counts of failure to yield the right of way causing serious bodily injury. See T.C.A. §§ 55-8-129, 55-8-197(a)(3) (2018). He received an effective sentence of six months’ incarceration, and the trial court ordered the Defendant to pay restitution in the amount of $500,000. On appeal, the Defendant contends that the trial court erred by (1) ordering restitution without assessing his ability to pay and (2) ordering restitution when there was no evidence substantiating the victims’ losses. We affirm the Defendant’s convictions, but we reverse the trial court’s restitution order and remand for entry of amended judgments.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              10/22/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Rudolfo Valentin Gonzalez, IIM2018-01846-CCA-R3-CDAuthoring Judge: Judge Alan E. GlennTrial Court Judge: Judge Jill Bartee AyersOn August 1, 2018, the Defendant, Rudolfo Valentin Gonzalez II, pleaded guilty to aggravated assault and aggravated burglary. The trial court sentenced him as a Range I, standard offender to concurrent three-year sentences, and the Defendant was released on supervised probation. The Defendant argues on appeal that the trial court erred in denying his request for judicial diversion. After thorough review, we affirm the sentencing decision of the trial court.            
                      
              Montgomery County            
                      
              Court of Criminal Appeals             
                      
              10/21/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Geary N. Jackson, SR.M2019-00180-CCA-R3-CDAuthoring Judge: Judge Robert L. Holloway JrTrial Court Judge: Judge Brody N. KaneDefendant, Geary N. Jackson, Sr., pled guilty to three counts of sale of oxymorphone, a Class C felony. Following a hearing, the trial court sentenced Defendant as a career offender to consecutive fifteen-year sentences. On appeal, Defendant asserts that his sentence is excessive and not in conformity with the purposes of the Sentencing Act. Upon review, we affirm the judgments of the trial court.            
                      
              Wilson County            
                      
              Court of Criminal Appeals             
                      
              10/21/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Khyree ThompsonE2018-01481-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Don W. PooleDefendant, Khyree Thompson, appeals his convictions of first-degree felony murder and attempted especially aggravated robbery, for which he received an effective sentence of life in prison. On appeal, Defendant argues that the evidence is insufficient to support his convictions and that the State committed prosecutorial misconduct during its closing argument. Upon our review of the record, we affirm the judgments of the trial court.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              10/18/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Norman Lee FollisE2018-01667-CCA-R3-CDAuthoring Judge: Judge Timothy L. EasterTrial Court Judge: Judge Donald Ray ElledgeDefendant, Norman Lee Follis, appeals his convictions of first degree murder and theft of property, for which he was sentenced to life imprisonment without the possibility of parole. On appeal, Defendant challenges the trial court’s denial of a motion to suppress his statement and the sufficiency of the evidence to support the first degree murder conviction. Because the trial court did not abuse its discretion in denying the motion to suppress and the evidence was sufficient to support the first degree murder conviction, we affirm the judgments of the trial court.            
                      
              Anderson County            
                      
              Court of Criminal Appeals             
                      
              10/18/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. James William Ray A.K.A. James William Ray, JRM2018-01765-CCA-R3-CDAuthoring Judge: Judge Norma McGee Ogle Trial Court Judge: Judge Steve R. DozierThe Appellant, James William Ray a.k.a. James William Ray, Jr., entered best interest guilty pleas to multiple counts of aggravated burglary, theft, and burglary of a motor vehicle. The trial court sentenced the Appellant as a Range II, multiple offender to a total effective sentence of twenty years. On appeal, the Appellant contends that the trial court erred in determining the length of the individual sentences and in imposing consecutive sentencing. Upon review, we affirm the judgments of the trial court.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              10/18/19            
                      
                          
                      
                          
                  
                        
                      
              Juan Jose Reyes v. State of TennesseeM2018-01075-CCA-R3-PCAuthoring Judge: Judge Thomas T. WoodallTrial Court Judge: Judge David A. PattersonPetitioner, Juan Jose Reyes, was convicted by a jury for the offense of rape of a child and received a sentence of thirty-two years. He appeals the denial of his petition for post-conviction relief in which he alleged ineffective assistance of counsel at trial. After a thorough review of the record, we conclude that Petitioner has failed to show that his trial counsel rendered ineffective assistance of counsel, and we accordingly affirm the judgment of the post-conviction court.            
                      
              DeKalb County            
                      
              Court of Criminal Appeals             
                      
              10/18/19            
                      
                          
                      
                          
                  
                        
                      
              State of Tennessee v. Christopher Levi ParkerE2018-01306-CCA-R3-CDAuthoring Judge: Judge Camille R. McMullenTrial Court Judge: Judge Barry A. SteelmanThe Defendant-Appellant, Christopher Levi Parker, was convicted by a Hamilton County jury of first-degree premeditated murder and sentenced to life in prison. In this appeal as of right, he raises the following issues for our review: (1) whether the evidence is sufficient to support the Defendant’s conviction of first-degree premeditated murder; and (2) whether the trial court erred in allowing the State to admit proof that the Defendant stole a gun that was consistent with the murder weapon the night before he shot and killed the victim. Upon our review, we affirm the judgment of the trial court.            
                      
              Hamilton County            
                      
              Court of Criminal Appeals             
                      
              10/17/19            
                      
                          
                      
                          
                  
                        
                      
              Yogonda Abdula Corley v. State of TennesseeM2018-01568-CCA-R3-PCAuthoring Judge: Judge Thomas T. Woodall Trial Court Judge: Judge Cheryl A. BlackburnPetitioner, Yogonda Abdula Corley, appeals from the post-conviction court’s denial of his petition for post-conviction relief. Petitioner contends that his trial counsel provided ineffective assistance by failing to develop a record at trial that was adequate for appellate review. Having reviewed the record and the briefs of the parties, we affirm the denial of post-conviction relief.            
                      
              Davidson County            
                      
              Court of Criminal Appeals             
                      
              10/17/19            
                      
                          
                      
                          
                  
            


      
    
          1
2
3
4
5
6
7
8
9
…
next ›
last »
    
    
    
    
      
     

    
    
  



  




